DATE: August 2, 2022


             The following cases in which the Court of Appeals issued published opinions have
      been appealed to the Supreme Court:

          1. Clifton Thomas Jacks
             v. Commonwealth of Virginia
             Record No. 0833-20-3
             Opinion rendered by Judge Huff on
              May 17, 2022

          2. Jovan Anthony Ali
              v. Commonwealth of Virginia
              Record No. 0434-21-4
              Opinion rendered by Chief Judge Decker on
              May 31, 2022

          3. Adrian Donnel Aley
             v. Commonwealth of Virginia
             Record No. 0693-21-4
             Opinion rendered by Judge AtLee on
              June 14, 2022
   The following cases in which the Court of Appeals issued published opinions have
been disposed of by the Supreme Court:


1. Caine Calif Davis
   v. Commonwealth of Virginia
   Record No. 1134-20-4
   Opinion rendered by Judge Humphreys
    on September 28, 2021
   Refused (211017)

2. James A. Fields, s/k/a James Alex Fields
    v. Commonwealth of Virginia
   Record No. 1964-19-2
    Opinion rendered by Judge Humphreys
     on November 16, 2021
    Refused (211175)

3. James Eberhardt
    v. Commonwealth of Virginia
   Record No. 0028-21-2
    Opinion rendered by Chief Judge Decker
     on December 14, 2021
    Refused (220029)
